                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )            No. 3:13-00209
                                                  )            JUDGE CAMPBELL
JUAN COLLAZO, et al.                              )

                                              ORDER

         Due to hazardous driving conditions, the status conference in this case, set for March 3,

2014, is CANCELLED.

         Pending before the Court is Defendant Juan Fernandez’s Motion To Extend Pretrial

Motion Deadline (Docket No. 54). The Motion is GRANTED, as follows: The Defendant shall

have until March 31, 2014 in which to file pretrial motions.

         The Court will hold a hearing on Juan Collazo’s Motion To Suppress Evidence (Docket

No. 53) on April 3, 2014, at 9:00 a.m.

         It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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